     Case 3:03-cr-00167-TJM        Document 395       Filed 08/01/05     Page 1 of 4




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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THERESA MINKIN,

                                    Petitioner,

          v.                                          3:03-cr-0167

UNITED STATES OF AMERICA,

                                    Respondent.

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THOMAS J. McAVOY
Senior United States District Judge

                                             ORDER

          Petitioner moves for a lesser sentence pursuant to Booker v. United States, 125 S.

Ct. 738 (2005). It is clear that Defendant’s pro se motion should be considered as made

under 28 U.S.C. § 2255 because of the nature of the relief sought. See 28 U.S.C. § 2255

(allowing claims that assert that "the sentence was imposed in violation of the Constitution or

laws of the United States, or that the court was without jurisdiction to impose such sentence,

or that the sentence was in excess of the maximum authorized by law, or is otherwise subject

to collateral attack."); Graziano v. United States, 83 F.3d 587, 590 (2d Cir. 1996)(Relief

pursuant to Section 2255 is available "for a constitutional error, a lack of jurisdiction in the

sentencing court, or an error of law or fact that constitutes 'a fundamental defect which

inherently results in [a] complete miscarriage of justice.’") (quoting United States v. Bokun, 73

F.3d 8, 12 (2d Cir. 1995))(internal quotation marks and citations omitted).

          Courts regularly convert inartfully drafted pro se post-conviction motions into

Section 2255 motions. See James v. Walsh, 308 F.3d 162, 166 (2d Cir. 2002); Jiminian v.
     Case 3:03-cr-00167-TJM         Document 395        Filed 08/01/05    Page 2 of 4




Nash, 245 F.3d 144, 148 (2d Cir. 2001); Adams v. United States, 155 F.3d 582, 584 (2d Cir.

1998); Chambers v. United States, 106 F.3d 472, 475 (2d Cir. 1997). "[W]hen a court

recharacterizes a pro se litigant's motion as a first § 2255 motion[,] ... the district court must

notify the pro se litigant that it intends to recharacterize the pleading, warn the litigant that

this recharacterization means that any subsequent § 2255 motion will be subject to the

restrictions on 'second or successive' motions, and provide the litigant an opportunity to

withdraw the motion or to amend it ...." Castro v. United States, 124 S. Ct. 786, 792 (2003);

Adams, 155 F.3d at 584 (same).

          The Second Circuit has noted that:

          In Adams we noted that the [Anti-Terrorism and Effective Death Penalty
          Act of 1996 ("AEDPA")] "places stringent limits on a prisoner's ability to
          bring a second or successive" § 2255 motion. 155 F.3d at 583. In view
          of this, we reasoned that if a district court treats a motion filed under
          some other provision as a § 2255 motion, then the movant's one chance
          at § 2255 relief would be used up--without the movant's consent and
          despite the movant's possible ignorance of the consequences. "Thus a
          conversion, initially justified because it harmlessly assisted the
          prisoner-movant in dealing with legal technicalities, may result in a
          disastrous deprivation of a future opportunity to have a well-justified
          grievance adjudicated." Id. With this in mind, we determined that district
          courts should not convert motions "purportedly made under some other
          rule" into § 2255 motions unless

          "(a) the movant, with knowledge of the potential adverse consequences of
          such recharacterization, agrees to have the motion so recharacterized, or

          (b) the court finds that, notwithstanding its designation, the motion should
          be considered as made under § 2255 because of the nature of the relief
          sought, and offers the movant the opportunity to withdraw the motion
          rather than have it so recharacterized." Id. at 584.

Simmon v. United States, 359 F.3d 139, 141 (2d Cir. 2004).




                                                - 2 -
     Case 3:03-cr-00167-TJM                 Document 395             Filed 08/01/05          Page 3 of 4




            In this case, the Court is returning Petitioner’s motion with the caution that, if she

re-files it, the Court will treat it was a motion under Section 2255. In determining whether to

re-file her motion, Petitioner should be aware that:

            (A) A person is generally afforded only one Section 2255 motion unless the second
            motion involves newly discovered evidence of a potentially dispositive nature, or a
            new and retroactive rule of constitutional law. See 28 U.S.C. §§ 2255, 2244(b).
            Thus, all potential claims must generally be included in the initial Section 2255
            motion;

            (B) A section 2255 motion filed after April 24, 19961 is subject to a one year period
            of limitation which runs from the latest of four specified events laid out in § 2255.
            See 28 U.S.C. § 2255;2 Ross v. Artuz, 150 F.3d 97, 98 (2d Cir. 1998)(One of the
            purposes of the AEDPA was to create a statute of limitations for the “... filing of
            petitions for writs of habeas corpus and motions to vacate federal sentences.”).
            Further, a “§ 2255 petition that is properly dismissed as time-barred under AEDPA
            constitutes an adjudication on the merits for successive purposes.” Villanueva v.
            United States, 346 F.3d 55, 61 (2d Cir. 2003).;

            (C) The failure to raise an issue on direct appeal may present a procedural bar to
            raising an issue in a Section 2255 motion. See Rosario v. United States, 164 F.3d
            729, 732 (2d Cir. 1998)(“Where a criminal defendant has procedurally forfeited his
            claim by failing to raise it on direct review, the claim may be raised in a § 2255
            motion only if the defendant can demonstrate either: (1) cause for failing to raise


           1
               The AEDPA became effective on April 24, 1996.

           2
               Th ese are:

           (1 )      t he d at e on w hic h t he ju dg m ent bec om es f inal;

           (2 )      t he d at e on w hic h t he im ped im ent t o m akin g a m ot ion cr eat ed b y go v ernm ent al
                     act ion in v iolat ion of t he Co nst it ut ion or law of t he U nit ed St at es is rem ov ed, if
                     t he ap plic ant w as prev ent ed f rom m akin g a m ot ion by suc h g ov ernm ent al
                     action;

           (3 )      t he d at e on w hic h t he rig ht assert ed w as init ially reco gn ized by t he Su prem e
                     Court, if that right has been new ly recognized by the Supreme Court and made
                     retroactively applicable to cases on collateral review ; or

           (4 )      t he d at e on w hic h t he f act s sup po rt ing t he c laim or c laim s co uld hav e been
                     d is c ov e red th rou g h the exerci se of due dil igence.

  2 8 U. S. C. § 2 25 5 .

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     Case 3:03-cr-00167-TJM       Document 395        Filed 08/01/05   Page 4 of 4




          the issue, and prejudice resulting therefrom; or (2) actual innocence.”)(citing
          Douglas v. United States, 13 F.3d 43, 46 (2d Cir. 1993)); Bousley v. United States,
          523 U.S. 614, 622 (1998); but see Massaro v. United States, 123 S. Ct. 1690, 1696
          (2003)(A Section 2255 ineffective assistance of counsel claim is not barred even if
          not raised on direct appeal). Further, “a determination in a first § 2255 petition that
          the claims raised were unexhausted and procedurally defaulted ‘qualifies as an
          adjudication on the merits.’” Villanueva, 346 F.3d at 60 (quoting Turner v. Artuz,
          262 F.3d 118, 122-23 (2d Cir.)(per curiam), cert. denied, 534 U.S. 1031
          (2001))(emphasis in original). Thus, Petitioner should advise the Court of a
          justifiable basis to consider claims that were not raised on direct appeal.

          Before concluding, the Court notes that it appears unlikely that Petitioner would be

entitled to any relief under her present motion for two distinct reasons. First, Booker does

not apply retroactively to cases on collateral review. Second, Petitioner pleaded guilty to

Count 1 of the Superseding Indictment which charged a conspiracy involving 50 or more

grams of crack cocaine and 500 or more grams of cocaine. As such, her 70 month sentence

falls well within the statutory maximum and minimums and the sentencing guidelines.

          For the foregoing reasons, Petitioner’s motion is DENIED without prejudice to

refiling it as a motion under section 2255.

IT IS SO ORDERED.

Dated:    August 1, 2005




                                              - 4 -
